

Matter of Kaye (2018 NY Slip Op 02787)





Matter of Kaye


2018 NY Slip Op 02787


Decided on April 25, 2018


Appellate Division, Second Department


Per Curiam.



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

ALAN D. SCHEINKMAN, P.J.
WILLIAM F. MASTRO
REINALDO E. RIVERA
MARK C. DILLON
RUTH C. BALKIN, JJ.


2017-13257

[*1]In the Matter of Corey B. Kaye, admitted as Corey Brent Kaye, an attorney and counselor-at-law, respondent. (Attorney Registration No. 1984756)



APPLICATION pursuant to 22 NYCRR 1240.10 by Corey B. Kaye, who was admitted to the Bar at a term of the Appellate Division of the Supreme Court in the Second Judicial Department on May 1, 1985, under the name Corey Brent Kaye, to resign as an attorney and counselor-at-law.



Gary L. Casella, White Plains, NY (Matthew C. Toal of counsel), for Grievance Committee for the Ninth Judicial District.
Corey B. Kay, Seaford, NY, respondent pro se.



PER CURIAM.


OPINION &amp; ORDER
The respondent, Corey B. Kaye, admitted as Corey Brent Kaye, has submitted an affidavit sworn to on December 18, 2017, in support of his application to resign as an attorney and counselor-at-law (see  22 NYCRR 1240.10).
The respondent acknowledges in his affidavit that he is the subject of an investigation conducted by the Grievance Committee for the Ninth Judicial District involving allegations of professional misconduct, including the "conversion of multiple client funds." The respondent attests that he cannot successfully defend against the allegations based upon the facts and circumstances of professional conduct as described.
The respondent acknowledges that his resignation is freely and voluntarily tendered, without coercion or duress by anyone, with full awareness of the consequences, including that the Court's acceptance and approval shall result in the entry of an order of disbarment striking his name from the roll of attorneys.
The respondent consents to the entry of an order by the Court, pursuant to Judiciary Law § 90(6-a), directing him to make monetary restitution to the clients from whom he has misappropriated funds.
The respondent acknowledges that his resignation is submitted subject to any future application that may be made by a Grievance Committee to any Department of the Appellate Division for an order, pursuant to Judiciary Law § 90(6-a), directing him to make restitution or reimburse the Lawyers' Fund for Client Protection, and to consent to the continuing jurisdiction of the Appellate Division to make such an order.
In addition, the respondent acknowledges and agrees that, pending the issuance of an order accepting his resignation, he shall not undertake to represent any new clients or accept any retainers for future legal services to be rendered, and that there will be no transactional activity in [*2]any fiduciary account to which he has access, other than for the payment of funds held therein on behalf of clients or others entitled to receive them.
The respondent further acknowledges that, in the event this Court accepts his resignation, the order resulting therefrom and the records and documents filed in relation to the aforementioned allegations, including the affidavits, shall be deemed public records pursuant to Judiciary Law § 90(10).
The Grievance Committee recommends that the respondent's application to resign be granted.
Inasmuch as the respondent's application to resign substantially complies with the requirements of 22 NYCRR 1240.10, the application is granted, and effective immediately, the respondent is disbarred, and his name is stricken from the roll of attorneys and counselors-at-law.
SCHEINKMAN, P.J., MASTRO, RIVERA, DILLON and BALKIN, JJ.,concur.
ORDERED that the application of Corey B. Kaye, admitted as Corey Brent Kaye, to resign as an attorney and counselor-at-law is granted; and it is further,
ORDERED that pursuant to Judiciary Law § 90, effective immediately, Corey B. Kaye, admitted as Corey Brent Kaye, is disbarred, and his name is stricken from the roll of attorneys and counselors-at-law; and it is further,
ORDERED that Corey B. Kaye, admitted as Corey Brent Kaye, shall comply with the rules governing the conduct of disbarred or suspended attorneys (see  22 NYCRR 1240.15); and it is further,
ORDERED that pursuant to Judiciary Law § 90, effective immediately, Corey B. Kaye, admitted as Corey Brent Kaye, shall desist and refrain from (1) practicing law in any form, either as principal or as agent, clerk, or employee of another, (2) appearing as an attorney or counselor-at-law before any court, Judge, Justice, board, commission, or other public authority, (3) giving to another an opinion as to the law or its application or any advice in relation thereto, and (4) holding himself out in any way as an attorney and counselor-at-law; and it is further,
ORDERED that the Grievance Committee shall pursue the issue of restitution to the extent possible, and Corey B. Kaye, admitted as Corey Brent Kaye, shall cooperate with the Grievance Committee in its pursuit of this issue; and it is further,
ORDERED that if Corey B. Kaye, admitted as Corey Brent Kaye, has been issued a secure pass by the Office of Court Administration, it shall be returned forthwith to the issuing agency and the respondent shall certify to the same in his affidavit of compliance pursuant to 22 NYCRR 1240.15(f).
ENTER:
Aprilanne Agostino
Clerk of the Court








